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                           EXHIBIT 9
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             IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

       Inventor(s): Jason Felix et al.

       Serial No.: 17/119,945
                                                             Group Art Unit: 3792
       Patent No. 11,051,743
                                                             Examiner: Manuel, George C.
       Filed: December 11, 2020

       Title: Electrocardiography Patch

       Attorney Docket No.: 127.2029.US.CON


   5                                 STATUTORY DISCLAIMER
                              UNDER 35 U.S.C. 253(a) and 37 C.F.R. § 1.321(a)

       Commissioner for Patents
       P.O. Box 1450
  10   Alexandria, VA 22313-1450

       Commissioner:

       Bardy Diagnostics, Inc. is the assignee and has complete ownership of U.S. Patent
       No. 11,051,743, as evidenced by the assignment recorded at reel/frame
  15   033701/0738.


       Bardy Diagnostics, Inc., through its attorney of record, hereby disclaims Claims 1-
       10 in U.S. Patent No. 11,051,743 (the “’743 patent”). For the avoidance of doubt,
       Claims 11-20 remain standing in the '743 patent.
  20
       The required fee, as set forth in 37 C.F.R. § 1.20(d), is submitted herewith.
       In accordance with 37 C.F.R. § 1.321(a), Patentee respectfully requests that this
       disclaimer be duly recorded.




       Statutory Disclaimer                            -1-
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                                                                              IPR2023-00381
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                                                Respectfully submitted,


       Dated: April 21, 2023                 By: _/Krista A. Wittman/____________
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       Statutory Disclaimer                   -2-




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